Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00148-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     MICHAEL SANG CORREA,
       a/k/a MICHAEL CORREA,
       a/k/a SANG CORREA,
       a/k/a MICHAEL COREA,
       a/k/a MICHAEL SANG COREA,
       a/k/a SANG COREA,

     Defendant.
______________________________________________________________________

         JOINT MEMORANDUM AS TO SPEEDY TRIAL CALCULATION
______________________________________________________________________

       In response to the Court’s order of August 2, 2022, see ECF 63, counsel for the

government and counsel for Michael Sang Correa hereby submit the results of their joint

speedy trial calculation in the above matter.

       Ordinarily, a trial must commence within 70 days from the filing and unsealing of

an indictment or the defendant’s initial appearance on the indictment in the “court in

which such charge is pending,” whichever occurs later. See 18 U.S.C. § 3161(c)(1).

However, certain periods of delay may be excluded from this 70-day period. Time is

excluded from the clock when a judge finds that “the ends of justice served by taking

such action outweigh the best interest of the public and the defendant in a speedy trial.”

18 U.S.C. § 3161(h)(7)(A). One of the factors which a judge shall consider in

determining whether to grant a continuance under § 3161(h)(7)(A) is whether the case

                                            1
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 2 of 7




is so unusual or so complex, due to the nature of the prosecution or the existence of

novel questions of fact or law, that it is unreasonable to expect adequate preparation for

pretrial proceedings or for the trial itself within the time limits established by this section.

18 U.S.C. § 3161(h)(7)(B).

       In this case, five motions requesting exclusions from the speedy trial clock have

been granted. Based upon these motions and decisions, the speedy trial calculation is

as follows:

   •   The defendant had his initial appearance on June 11, 2020, and arraignment was

       scheduled for June 16, 2020. The arraignment was then delayed from June 16 to

       July 1, 2020 due to COVID-19, which should be excluded from the speedy trial

       clock. With the exclusion of this period, the speedy trial clock of 70 days from the

       unsealing of the indictment on June 11, 2020 was then set to expire on

       September 4, 2020.

   •   The defendant was then arraigned on July 1, 2020, and the government then

       filed its unopposed motion to designate this case as complex on July 9, 2020.

       ECF 5, 27. In that motion, the parties also noted that 18 U.S.C. § 3161(h)(8)

       allowed for a speedy trial tolling up to one year and requested a tolling period of

       120 days. ECF 27. The filing of that motion tolled the speedy trial clock for 5 days

       until the Court ruled on that motion by order dated July 14, 2020. ECF 28.

   •   On July 14, 2020, the Court granted the motion to toll all speedy trial time for 120

       days from September 4, 2020. ECF 28. This ruling effectively extended the 70-




                                               2
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 3 of 7




        day clock expiration to January 4, 20211, which takes into account the tolling

        from June 16, 2020 to July 1, 2020 but does not take into account the tolling for 5

        days while the motion was pending before the Court.

    •   On December 11, 2020, the defendant filed an unopposed motion requesting an

        Ends of Justice Continuance. ECF 32. On December 14, 2020, the requested

        continuance was granted excluding 180 days from the speedy trial clock from

        January 3, 2021.2 ECF 33.

    •   On May 13, 2021, the defendant filed an unopposed motion requesting an Ends

        of Justice Continuance. ECF 35. On May 13, 2021, the requested continuance

        was granted excluding 180 days from the speedy trial clock from July 3, 2021.3

        ECF 36.

    •   On September 24, 2021, the defendant filed an unopposed motion requesting an

        Ends of Justice Continuance. ECF 46. On September 27, 2021, the requested

        continuance was granted excluding 180 days from the speedy trial clock from

        December 31, 2021.4 ECF 47.




1 January 3, 2021 is 120 days after September 4, 2020. Because January 3, 2021 was
a Sunday, the tolling of 120 days from September 4, 2020 would have ended on
January 4, 2021.
2 Because January 3, 2021 was a Sunday, the tolling of 120 days from September 4,

2020 would have ended on January 4, 2021. The tolling of 180 days from January 4,
2021 would have ended on July 6, 2021, because July 3, 2021 was a Saturday, and the
Monday that followed was a holiday.
3 Because July 3, 2021 was a Saturday, and the Monday that followed was a holiday,

the previous tolling would have been effective through July 6, 2021. The tolling of 180
days from July 6, 2021 would have ended on January 3, 2022 accounting for holidays.
4 December 31, 2021 was a Friday holiday. The tolling of 180 days from July 6, 2021

would end on January 3, 2022.
                                            3
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 4 of 7




    •   On April 8, 2022, the defendant filed an unopposed motion requesting an Ends of

        Justice Continuance. ECF 58. On April 12, 2022, the requested continuance was

        granted excluding 180 days from the speedy trial clock from June 30, 2022.5 ECF

        59.

        Accordingly, counsel for the government and counsel for Michael Sang Correa

jointly submit that the previously granted continuances in this case have adjusted the

70-day speedy trial clock expiration until January 3, 2023. As noted above, this takes

into account the 15-day tolling for the delay in arraignment but does not account for the

5-day tolling while the first motion was pending.



        Respectfully submitted this 5th day of August, 2022.


                                                    COLE FINEGAN
                                                    United States Attorney

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5The tolling of 180 days from January 3, 2022 would be July 5, 2022, taking into
account the immediately preceding weekend and holiday.
                                           4
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 5 of 7




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                                    5
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 6 of 7




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                                    6
Case 1:20-cr-00148-CMA Document 64 Filed 08/05/22 USDC Colorado Page 7 of 7




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of August, 2022, I electronically filed the
foregoing JOINT MEMORANDUM AS TO SPEEDY TRIAL CLOCK with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all
parties of record.

                                          s/ Melissa Hindman ______
                                          Melissa Hindman
                                          Assistant U.S. Attorney
